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      Attorneys for David M. Reaves,
9          Chapter 7 Trustee
10
                      IN THE UNITED STATES BANKRUPTCY COURT
11
                               FOR THE DISTRICT OF ARIZONA
12
      In Re:                                      )   Case No. 2:18-bk-05678-DPC
13                                                )
      CHRISTENSON, JEFFREY T. and                 )   Chapter 7
14
      CHRISTENSON, SHARON R.,                     )
                                                  )   TRUSTEE’S MOTION TO
15                                                )   APPROVE SETTLEMENT
                           Debtor.                )   AGREEMENT WITH DEBTORS
16                                                )
                                                  )
17

18         David M. Reaves, Chapter 7 trustee herein (hereinafter “Trustee”), respectfully
19   requests an order of this Court pursuant to Rule 9019, Fed. R. Bank. P., approving the
20   Trustee’s settlement of those claims against Jeffrey T. Christenson and Sharon R.
21   Christenson (the “Debtors”) for the turnover of nonexempt property of the estate,
22   including: (i) excess bank balances in the amount of $400.00, (ii) excess wages in the
23   amount of $2,383.00, (iii) the Debtors’ 100% interest in The Wealthy 100, LLC (iv) the
24   Debtors’ 100% interest in All Star Garage Band, LLC, (v) the Debtors’ 100 % interest in
25   Christenson Wealth Management, LLC, and (vi) piano (collectively the “Nonexempt
     Property”). Trustee’s proposed settlement calls for the payment in the total amount of


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1    $4,500.00 by the Debtors to Trustee, on behalf of the bankruptcy estate, in return for a
2    release of any and all claims held by the Trustee in the Nonexempt Property.
3            Trustee’s motion is as follows:
4            1.    Jeffrey T. Christenson and Sharon R. Christenson (the “Debtors”) filed
5    their voluntary Chapter 7 petition on May 18, 2018.
6            2.    Pursuant to 11 U.S.C. § 541, the bankruptcy estate includes all legal and
7    equitable interest held by the debtors in any property as of the commencement of the
8    case.
9            3.    On the Debtors’ Schedules filed herein, the Debtors list: (1) Deposits of
10   Money in the total amount of $1,004.75, (ii) Wages Owed to Debtor in the amount of
11   $9,532.60, (iii) the Debtors’ 100% interest in The Wealthy 100, LLC, (iv) the Debtors’
12   100% interest in All Star Garage Band, LLC, (v) the Debtors’ 100 % interest in
13   Christenson Wealth Management, LLC, and (vi) a piano.
14           4.    On the date of filing, the Debtors’ bank accounts held a total balance of
15   $1,004.75. The Debtors claim a $600.00 exemption in the bank accounts pursuant to
16   Ariz. Rev. Stat. §33-1126(A)(9). Excess funds are owing to the estate in the amount of
17   $404.77 (“Excess Bank Balance”)
18           5.    On the date of filing, the Debtors were owed $9,523.60 in wages. The
19   Debtors claim a seventy-five percent (75%) exemption in the wages pursuant to Ariz.
20   Rev. Stat. §33-1131(B). Excess wages are owing to the estate in the amount of $2,383.00
21   (the “Excess Wages”).
22           6.    On the date of filing, the Debtors held a 100% interest in The Wealthy 100,
23   LLC (the “The Wealthy 100”). The Debtors’ interest in The Wealthy 100 is nonexempt
24   property of the bankruptcy estate.
25




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1          7.     On the date of filing, the Debtors held a 100% interest in All Star Garage
2    Band, LLC (“All Star Garage Band”). The Debtors’ interest in All Star Garage Band is
3    nonexempt property of the bankruptcy estate.
4          8.     On the date of filing, the Debtors held a 100% interest in Christenson
5    Wealth Management, LLC (“Christenson Wealth Management”). The Debtors’ interest
6    in Christenson Wealth Management is nonexempt property of the bankruptcy estate.
7          9.     On the date of filing, the Debtors owned a piano. The Debtors did not
8    claim any exemptions in the piano and therefore, the piano is nonexempt property of the
9    bankruptcy estate.
10         10.    The Trustee has made a demand for a turn over of the Debtors’ interest in
11   the Nonexempt Property. The Debtors dispute the Trustee’s values of the Nonexempt
12   Wages, Excess Bank Balances, and the piano. The Debtors contend that Debtors’
13   interests in The Wealthy 100, All Star Garage Band, and Christenson Wealth
14   Management hold no value to the estate and have ceased operations.
15         11.    In an effort to resolve their disputes, the parties have agreed to settle this
16   matter upon the following terms:
17                a.      Upon Bankruptcy Court approval, the Debtors shall pay to the
18          Trustee, on behalf of the estate, the total sum of $4,500.00 (the “Settlement
19          Funds”) payable within twenty days of entry of an order approving the settlement.
20          In exchange, the Trustee shall release any claims in the Nonexempt Property, and
21          Debtors shall be entitled to retain the Nonexempt Property.
22                b.      Upon Bankruptcy Court approval of this settlement and receipt of
23          the Settlement Funds by this estate, any interest held by the estate in the Debtors’
24          Nonexempt Property shall be released and abandoned, and the Debtors shall be
25          released from any claims held by this estate relating to the turnover of the
            Debtors’ Nonexempt Property; and


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1                   c.     All parties are to bear their own attorneys’ fees and costs.
2           12.     Pursuant to Bankruptcy Rule 9019(a), on motion by the trustee and after
3    notice and hearing, the court may approve a compromise and settlement. Trustee
4    requests that the Court approve the proposed settlement as set forth herein.
5           13.     The parties understand and acknowledge that this agreement shall become
6    binding only upon Bankruptcy Court approval. If this agreement is not approved by the
7    Court, this agreement shall be null and void, and any funds paid by Debtors to this estate
8    shall be returned.
9           14.     The Trustee submits that the foregoing compromise is in the best interest of
10   all parties hereto and the Debtors’ estate. The settlement meets the requirements of A &
11   C Properties, 784 F.2d 1377 (9th Cir. 1986), In re Woodson, 839 F.2d 610 (9th Cir. 1988),
12   and In re Schmitt, 215 B.R. 417 (B.A.P. 9th Cir. 1997), in that the proposed compromise
13   and settlement is an appropriate resolution of this matter. Bankruptcy courts have broad
14   discretion in approving compromise agreements. In re Woodson, 839 at 620. The Court
15   may approve a compromise if it is fair and equitable. Id. In determining the fairness and
16   adequacy of a proposed compromise agreements, the Court should consider the following
17   factors: (1) the probability of success in the litigation; (2) the difficulties to be
18   encountered in collecting on any judgment; (3) the complexity and expense of the
19   litigation; and (4) the paramount interests of creditors and deference to the views of those
20   creditors. Id. To approve this settlement, the Court need only canvass the issues to
21   determine whether the settlement “falls below the lowest point in the zone of
22   reasonableness.” Newman v. Stein, 464 F.2d 689, 698 (2d Cir. 1972), cert. denied, 409
23   U.S. 1039 (1972); see also In re Pennsylvania Truck Lines, Inc., 150 B.R. 595, 598
24   (Bankr. E.D. Pa. 1992) (holding that a bankruptcy court must consider these factors to see
25   whether the settlement falls below the lowest point in the range of reasonableness). If the
     court finds the compromise does not fall below the threshold of reasonableness, the


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1    compromise should be approved. In re Planned Protective Services, Inc., 130 B.R. 94,
2    99 n.7 (Bankr. C.D. Cal. 1991). Moreover, if augmenting the estate involves protracted
3    and costly litigation, with no guarantee of success, the trustee is obligated to prudently
4    determine whether to eliminate the risks and costs of the uncertain litigation through
5    abandonment or settlement; the test is whether the trustee’s actions fall within the
6    universe of reasonable actions, not whether pressing onward might produce more funds.
7    In re Mailman Steam Carpet Cleaning Corp., 212 F.3d 632, 635 (1st Cir. 2000), cert.
8    denied, 531 U.S. 960, 120 S.Ct. 2661 (2000).
9           15.    Trustee, in his business judgment, deems this agreement to be in the best
10   interest of the bankruptcy estate and creditors, and should be approved. This settlement
11   resolves Trustee’s demand for turnover of the Nonexempt Property, and further resolves
12   any need for the Court to get involved in the turnover of the Nonexempt Property. The
13   Debtors dispute the amount of the Excess Bank Balance and the Nonexempt Wages. The
14   Debtors dispute the Trustee’s valuation of the piano. The Debtors contend that the
15   Debtors’ interest in The Wealthy 100 has no value and ceased operations in 2005. The
16   Debtors contend that the Debtors’ interest in All Star Garage Band has no value and
17   ceased operations in 2008. The Debtors contend that the Debtors’ interest in Christenson
18   Wealth Management has no value. The Debtors’ payment to the estate of $4,500.00
19   represents a fair and reasonable settlement of the estate’s interest in the Nonexempt
20   Property. This settlement guarantees that this estate shall recover at least $4,500.00,
21   without incurring additional administrative expenses, and the Debtors are able to retain
22   the Nonexempt Property. Accordingly, Trustee requests that this Court approve the
23   proposed settlement.
24          WHEREFORE, Trustee respectfully requests an Order of this Court approving the
25   Settlement Agreement between Trustee and Debtor as stated herein.




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1          Dated this 21st day of August, 2019.
2
                                                  REAVES LAW GROUP
3

4                                                 By: /s/ Misty W. Weigle (SBN 027222)
                                                     David M. Reaves
5                                                    Misty W. Weigle,
                                                     Attorneys for David M. Reaves,
6
                                                          Chapter 7 Trustee
7
     APPROVED AS TO FORM AND CONTENT
8
     ALLEN, BARNES and JONES, PLC
9

10
     By: /s/ Thomas H. Allen (SBN 11160)
11       Thomas Allen
         Attorney for Debtor
12

13
     COPY of the foregoing MAILED
14   this 21st day of August, 2019, to:

15   Jeffrey and Sharon Christenson
     9853 North 48th Place
16
     Paradise Valley, Arizona 85253
17   Debtors

18   Thomas Allen
     Allen Barnes & Jones, PLC
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20
     Attorney for Debtor

21   Office of the U.S. Trustee
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22
     /s/ Misty W. Weigle
23

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